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                    EXHIBIT B
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                               MASTER SERVICES AGREEMENT

         THIS MASTER SERVICES AGREEMENT (“Agreement”) is effective as of January
  31, 2018 (“Effective Date”) by and between THR PROPERTY MANAGEMENT L.P., a
  Delaware limited partnership, on behalf of itself and its affiliates, whose principal place of business
  901 Main Street, Suite 4700, Dallas, Texas 75202, (“Customer”) and SMS ASSIST L.L.C., a
  Delaware limited liability company, whose principal place of business is 875 N. Michigan Avenue,
  Suite 2800, Chicago, Illinois 60611 (“SMS Assist”). Customer and SMS Assist may be referred to
  individually as a “party” and collectively as the “parties.”

         WHEREAS, SMS Assist is engaged in the business of providing facility services including,
  but not limited to, snow removal and salting and sanding, landscaping, periodic floor cleaning,
  window washing, HVAC maintenance and service, plumbing, electrical and handyman services
  and other facilities maintenance services; and

          WHEREAS, Customer is engaged in the rental property business and has real estate assets
  across the nation which must be maintained in the course of its business; and

        WHEREAS, SMS Assist previously entered into that certain Master Service Agreement,
  as amended, with Colony Starwood Homes Management, LLC, a subsidiary of Starwood
  Waypoint Homes, a Maryland real estate investment trust (as successor to CAH Manager) dated
  October 10, 2014 (the “SW Agreement”); and

          WHEREAS, on November 16, 2017, Starwood Waypoint Homes merged with and into IH
  Merger Sub, LLC, a Delaware limited liability company a direct wholly owned subsidiary of
  Invitation Homes Inc., a Maryland corporation (collectively, the “Merged Entities”) and Customer
  is the successor to Colony Starwood Homes Management, LLC; and

         WHEREAS, the Parties are desirous of entering into an agreement providing for the
  procurement of certain SMS Assist services for Customer, to replace in its entirety the SW
  Agreement; and

         WHEREAS, the parties have concurrently agreed to enter into a Master Platform Services
  Agreement, by and between Customer and SMS Assist dated January 31, 2018 (the “Platform
  Agreement”), to provide certain technology and other services to help facilitate the management
  of the services to be performed by SMS Assist and any definitions set forth in the Platform
  Agreement shall apply to this Agreement.

        NOW, THEREFORE, by reason of the premises and in consideration of the mutual
  covenants contained herein, the parties hereto agree as follows:

         1.     CONTRACTED SERVICES. Commencing on the Effective Date, Customer does
  hereby engage SMS Assist as the provider to Customer of those services described in any statement
  of work (“Statement of Work” or “SOW”) attached hereto or executed in accordance with the

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  terms of this Agreement (the “Contracted Services”). Each Statement of Work shall contain an
  Exhibit A which details: (i) the Services to be provided by SMS Assist, (ii) the frequency of
  scheduled services or the circumstances for reactive services, (iii) any applicable compensation
  or pricing terms, and (iv) any amendments to the terms of the Agreement required as a result of
  such Statement of Work. Further, each Statement of Work shall contain an Exhibit that lists the
  locations, as determined by mutual agreement of the parties, where SMS Assist may cause the
  Contracted Services to be performed at (“Locations”). The Contracted Services shall be performed
  in a good and workmanlike manner and with a level of care in accordance with industry standards,
  applicable statutes, ordinances, codes, rules, regulations, orders or determinations of any
  governmental authority and the scope of work agreed to by the parties. To the extent required by
  applicable statutes, ordinances, codes, rules, regulations, orders or determinations of any
  governmental authority (“Applicable Law”), the Contracted Services will be performed by
  licensed, bonded and/or insured contractors. SMS Assist shall take such steps in the performance
  of the Contracted Services to ensure that no lien, cloud or other impairment of title may be made
  to the properties and improvements owned by affiliates of Customer. To the extent that SMS
  Assist secures product and/or work warranties, SMS Assist shall ensure that any and all product
  and work warranties are assigned to Customer in a timely manner. SMS Assist will take reasonable
  steps to ensure that: (i) SMS Assist adheres to Customer’s policies regarding resident maintenance
  responsibilities and obligations. During the term of this Agreement, SMS Assist shall be
  Customer’s exclusive provider of the Contracted Services, provided that Customer may elect to
  provide any listed or unlisted Contracted Service to itself using its own direct internal labor or
  specialized vendors that are part of Customer’s vendor credentialing system and who do not
  perform services that are substantially similar to the services performed by SMS Assist under
  SOW1.

         2.      PRICE AND PAYMENT TERMS.

          a) The fees for Contracted Services supplied under this Agreement shall be set forth in the
  applicable SOW. The fees set forth in the SOW shall not be modified during the term of this
  Agreement without the prior written consent of Customer. Prices, as may be set forth in an SOW,
  do not include sales, use, excise or similar taxes which may be applicable to the Contracted
  Services and such taxes shall be added when and where applicable. For avoidance of doubt, SMS
  Assist will take steps which are reasonably designed to prevent charging Customer duplicative
  taxes. In the event that the Contracted Service is a reactive service, SMS Assist shall not exceed
  the Not to Exceed (“NTE”) price as set forth in the applicable exhibit of any Statement of Work,
  unless otherwise authorized by Customer.

          b) SMS Assist shall invoice Customer for all Contracted Services performed and each
  invoice shall (i) identify the Contracted Services performed, the date the Contracted Services were
  provided, the address where the Contracted Services were performed, the price of the Contracted
  Services, and any applicable taxes; and (ii) specify that payment is due within thirty (30) days from
  the date of the invoice. SMS Assist agrees to provide a one-half percent (0.5%) early pay discount
  of total bill if payment is made within ten (10) business days of invoice date. Customer shall
  remit payment to SMS Assist within such terms. At the election of SMS Assist, invoiced amounts
  that are not paid when due will bear interest at the lesser of one and a half percent (1.5%) interest
  per month or the highest rate permissible under applicable law, whichever is less.


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          c) If SMS Assist or its affiliates sell any goods or services (not included in the definitions
  of Contracted Services or Platform Services) to Customer’s residents in connection with or as a
  result of the provision of the Contracted Services or Platform Services (whether directly, or
  through partners, affiliates or otherwise), SMS Assist shall credit against any fees payable by
  Customer to SMS Assist under this Agreement or any SOW an amount equal to 50% of SMS
  Assist and its affiliates’ net profit (gross profit less SMS Assist’s reasonable associated overhead
  expenses, expressly excluding any portion of interest, as mutually agreed upon by the parties)
  resulting from such sales. Such credits shall be made on a monthly basis, and a reasonably detailed
  calculation of the credit (including underlying sales and expenses) shall be included in the monthly
  invoices. Should credits owing to Customer under this section exceed amounts payable by
  Customer to SMS Assist in any month, such credits shall be applied to the subsequent months’
  payables, unless otherwise requested by Customer that the balance be paid in cash.

         d) Customer shall receive a credit in the amount of any fees or expenses paid by Customer
  under the Platform Agreement against any fees otherwise owing under Statements of Work issued
  hereunder. Should credits owing to Customer hereunder exceed amounts payable by Customer to
  SMS Assist in any month, such credits shall be applied to the subsequent months’ payables, unless
  otherwise requested by Customer that the balance be paid in cash.

         3.      UNIFIED NATIONAL OPERATING PLATFORM.

         a) The parties agree to work together in good faith to integrate and combine the separate
  technology and call center services of the Merged Entities into one single and combined
  technology and call center services platform (“Unified National Operating Platform”).

          b) The completion of the Unified National Operating Platform will require (a) combined
  datasets for the Merged Entities in the Unified National Operating Platform, and (b) one single,
  combined instance of the Unified National Operating Platform for both Merged Entities.

          c) The terms and conditions described in SOW1 – Exhibit B shall apply until the parties
  are able to complete the Unified National Operating Platform in accordance with Section 3(b).

         d) The parties agree the Unified National Operating Platform will be considered complete
  once the conditions identified in Section 3(b) have been completed (the “Unified Date”).

                 i) SMS Assist will send written notice to Customer designating the Unified Date.
  As of the Unified Date, the terms and conditions of SOW1 - Exhibit B shall be of no further effect
  and the terms and conditions of SOW1 - Exhibit C shall apply.

                  ii) In the event that Customer has a reasonable belief that certain conditions
  identified in Section 3(b) have not been implemented, then the Customer may provide notice to
  SMS Assist and within 10 days of the receipt of such notice, each party shall appoint a senior
  executive and the senior executives shall meet, in person, to discuss and agree upon the status of
  the Unified National Operating Platform, and the applicable Unified Date.

         4.      TERM.



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         a) This Agreement shall commence on the Effective Date and continue through September
  30, 2021, (the “Initial Term”) unless earlier terminated in accordance with the terms of this
  Agreement.

        b) On or before March 30, 2021, the parties may mutually agree in writing to renew this
  Agreement for a one year term (a “Renewal Term”).

         c) The parties agree that as of the Effective Date of this Agreement, the SW Agreement is
  terminated in its entirety and is replaced by this Agreement and is of no further force and effect.

           5.    TERMINATION. This Agreement may be terminated prior to expiration of the
  Initial Term or any Renewal Term set forth in Section 4 as follows:

         a) In the event of a material breach by either party of this Agreement or any Statement of
  Work, the non-breaching party shall have the right to terminate this Agreement with 7 days’
  advance written notice to the breaching party, provided that the non-breaching party was given a
  reasonable period to cure such breach (which must not be less than 30 days) and the breaching
  party has failed to cure such breach.

          b) Either party may immediately terminate this Agreement without liability upon written
  notice and without providing a cure period if the other party: (i) becomes insolvent, (ii) becomes
  a debtor in any bankruptcy or receivership proceeding or any similar action affecting the affairs or
  property of such party, (iii) makes a general assignment for the benefit of its creditors, or (iv)
  ceases its business operations.

           c) Customer shall have the right to terminate this Agreement in its entirety for cause at any
  time effective immediately upon the mailing of written notice to SMS Assist (which must set forth
  that the termination is for cause and specify the facts constituting cause) in the following situations:
  (i) improper or unethical business practices by SMS Assist that materially affect Customer; (ii)
  violation of any law, ordinance or regulation by SMS Assist that materially impacts Customer; or
  (iii) any other act or omission on the part of SMS Assist which causes material harm to Customer's
  business or reputation.

          d) Following October 2, 2020, Customer may give notice to SMS Assist of its intent to
  terminate this Agreement for any reason or no reason and specifying that the Agreement will
  terminate at least 90 days’ from the date of such notice. In the event that Customer gives such
  notice, then the Agreement will terminate as of the date specified in the notice. If Customer
  exercises this right to terminate, Customer shall pay a termination fee to SMS Assist in the amount
  of $15,000,000.00 prior to the actual date of termination.

          e) On or after the Unified Date (as defined in Section 3 herein), Customer may terminate
  this Agreement in the event that Customer determines in its absolute and sole discretion that SMS
  Assist is performing in an unsatisfactory manner under this Agreement in any applicable service
  region (each a “Region”), Customer shall notify SMS Assist in writing and specify the
  unsatisfactory performance and the applicable Region (“Regional Performance Notice”). SMS
  Assist must improve its performance within 60 days after the date of receiving the Regional
  Performance Notice (“Performance Improvement Period”). If SMS Assist fails to improve its
  performance to a satisfactory level in response to the Regional Performance Notice (in Customer's

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  sole discretion) within the Performance Improvement Period, Customer shall have 30 days
  following the Performance Improvement Period to terminate this Agreement with respect to the
  applicable Region by providing 30 days’ written notice (“Regional Performance Termination
  Notice”) to SMS Assist. If Customer does not deliver a Regional Performance Termination
  Notice within such 30 day period, SMS Assist shall be deemed to have restored performance to a
  satisfactory level with respect to the applicable Region. Notwithstanding anything to the contrary
  contained in this Agreement, the Parties agree that SLA failures (as defined in SOW1 - Exhibit
  C) may be cited as evidence of unsatisfactory performance herein and payment of an SLA Credit
  shall not be deemed a cure for the purposes of this Section 5(e).

         f) On or after the Unified Date (as defined in Section 3 herein), Customer may terminate
  the Agreement, with 30 days advance written notice to SMS Assist, if the following conditions
  are met: (a) Customer has sent a Regional Performance Notice for three (3) or more Regions, (b)
  the Regions where Customer has sent a Regional Performance Notice must comprise at least 25%
  of all of Customer’s Locations (as measured as of the day after the most recent Regional
  Performance Notice), (c) the unsatisfactory performance in each of the three (3) Regions remains
  uncured, and (d) SMS Assist has had at least 90 days to cure each Region.

         6.      ARBITRATION. All disputes arising out of or relating to this Agreement shall be
  resolved by binding arbitration administered by the JAMS under its JAMS Streamlined Arbitration
  Rules and Procedures then in effect in Cook County, Illinois, or if that entity is unavailable or
  declines, a similar impartial tribunal. The ruling or said tribunal shall be binding and non-
  appealable. Judgment upon an award rendered by the arbitrator may be entered in any court of
  competent jurisdiction. Nothing in this provision shall prohibit a party from seeking an injunction
  or order of specific performance in a court of competent jurisdiction to the extent that such
  equitable remedy may exist.

           7.     INSURANCE. SMS Assist represents and agrees that during the term of this
  Agreement SMS Assist shall carry, or cause to be carried, at its own expense: (a) full worker's
  compensation insurance providing the statutory benefits for each state in which SMS Assist and/or
  its contracted service providers performs work for Customer including Employer’s Liability
  coverage with minimum limits of $1,000,000 or that statutory minimum, whichever is greater, per
  accident or employee illness for its employees, sub-contractors, affiliates, agents, or
  representatives performing Contracted Services under this Agreement; (b) commercial general
  liability coverage written on an occurrence form with a minimum limit of not less than $2,000,000
  per occurrence for personal injury and property damage; (c) automobile liability coverage for all
  owned and non-owned vehicles, including rented and leased vehicles containing minimum limits
  per occurrence of $1,000,000 (d) fidelity or crime insurance coverage of its employees, sub-
  contractors, affiliates, agents, or representatives performing Contracted Services under this
  Agreement in the amount of $1,000,000 per occurrence; and (e) umbrella liability coverage with
  a minimum limit of $50,000,000 per occurrence and in the aggregate on terms consistent with the
  commercial general liability insurance policy and including employer liability and automobile
  liability. Customer shall be named as an Additional Insured or loss payee, as applicable, for each
  of the policies described in Section 7(b), (c), (d) and (e) on a primary and non-contributory basis.
  SMS Assist may meet the minimum coverage limits described in this Section 7 with any
  combination of primary and excess coverage. All liability policies must contain a waiver of
  subrogation against Customer, contain such provisions as Customer deems reasonably necessary

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  or desirable to protect its interest including endorsements providing that (i) neither SMS, Customer
  nor any other party shall be a co-insurer under said Policies, (ii) Customer shall receive at least
  thirty (30) days prior written notice of any modification, reduction or cancellation, and (iii) for a
  deductible per loss of an amount not more than that which is customarily maintained by prudent
  owners of single family residential properties with a standard of operation and maintenance
  comparable to and in the general vicinity of the Locations.

         All insurance coverages required under this agreement shall be written with a company or
  companies having a minimum A.M. Best’s rating of “A-” with a financial size classification of
  “VII” as determined by the most recently published Best’s Key Rating Guide. Within a reasonable
  time after the execution of this Agreement, SMS Assist shall provide certificates of insurance
  evidencing the insurance required under this Agreement.

          8.      INDEMNIFICATION. SMS Assist shall indemnify, defend and hold the Customer
  harmless from and against any and all claims, damages, costs, liabilities and expenses (including
  reasonable attorney fees) arising out of or in connection with personal injury or property damage
  or any other claims or costs resulting from the negligence or willful misconduct of SMS Assist, its
  officers, agents, contractors, or representatives while performing the services set forth herein, or
  SMS Assist’s material breach of this Agreement, or SMS Assist’s failure to satisfy liens or other
  clouds on title filed by SMS Assist, its contractors and/or vendors, or violation of any applicable
  federal, state or local law by SMS Assist or the services provided hereunder.

          Customer agrees to indemnify, defend, and hold SMS Assist harmless from and against all
  claims, demands, actions and expenses (including reasonable attorney's fees) made or brought
  against SMS Assist, or such as it may pay or incur, as a result of Customer's negligence or willful
  misconduct, Customer’s material breach of this Agreement, or violation of any applicable federal,
  state or local law by Customer.

            Notwithstanding the foregoing, neither party shall be liable to the other for, and each party
  hereby waives any and all rights to claims against the other party, any special, indirect, incidental,
  consequential, punitive or exemplary damages in connection with this Agreement, including, but
  not limited to, lost revenue or profits, even if a party has knowledge of the possibility of such
  damages. Except for (i) either party’s indemnification obligations set forth above in this Section
  8, (ii) a party’s obligation to make payment for Contracted Services (as described in Section 2), or
  (iii) a violation of Section 9, in no event shall either party’s liability hereunder exceed
  $1,000,000.00. The foregoing limitation shall in no way limit the reimbursement or coverage of
  claims covered by insurance.

         9.      CONFIDENTIAL INFORMATION.

          a) For the purposes of this Agreement, confidential information (“Confidential
  Information”) shall mean all proprietary, secret or confidential information, materials or data
  which are not generally known to the public and are identified at the time of disclosure, or would
  reasonably be understood by the receiving party, to be proprietary or confidential, and which the
  receiving party observes or learns in connection with this Agreement, including any information
  that may have been provided prior to the Effective Date of this Agreement.


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          b) Customer and SMS Assist acknowledge that either party may disclose Confidential
  Information to the other party in connection with this Agreement. If a party receives Confidential
  Information it shall: (i) limit disclosure of Confidential Information to those of its employees,
  agents, or subcontractors that have a need to know such portion of the Confidential Information to
  accomplish the purposes contemplated by this Agreement; (ii) use at least the same degree of care
  in maintaining the secrecy of the Confidential Information as the receiving party uses in
  maintaining the secrecy of its own proprietary, secret or confidential information, but in no event
  less than a reasonable degree of care; (iii) use Confidential Information only to fulfill its
  obligations under this Agreement; (iv) return or destroy all documents, copies, notes or other
  materials containing any portion of the Confidential Information upon request by the disclosing
  party; and (v) shall not reverse engineer, decompile, disassemble or otherwise attempt to discover
  any source codes, object codes, data, information, copyrights, trademarks, patents, inventions,
  trade secrets, or prototypes delivered to it by the other party or attempt to do so.

          c) The receiving party shall have no obligation concerning any portion of the Confidential
  Information which: (i) was known to the receiving party before disclosure of the Confidential
  Information; (ii) is lawfully obtained, directly or indirectly, by the receiving party from a third
  party and such third party is under no obligation of confidentiality; (iii) is or becomes publicly
  available other than as a result of an act or failure to act by the receiving party; or (iv) is required
  to be disclosed by applicable law or legal process.

          10.    INTELLECTUAL PROPERTY. The parties have concurrently agreed to enter into
  the Platform Agreement for the technology and platform services to be provided by SMS Assist in
  conjuntion with the Contracted Services. The term “Platform”, as used in this Agreement, has the
  definition given to it in the Platform Agreement, as well any other term defined in the Platform
  Agreement, and the rights and obligations of the parties with respect to the Platform as set forth in
  the Platform Agreement shall apply to the parties as if incorporated herein.

          For the term of this Agreement, each party grants to the other party a revocable, non-
  exclusive license to use its trademarks in order to carry out the purposes and functions
  contemplated by this Agreement or for any other purpose which the parties may agree upon. A
  party will make reasonable efforts to use the trademarks in a manner consistent with the other
  party’s marketing standards. The licensing party may revoke the license if the other party uses the
  trademark in a manner inconsistent with those standards and fails to correct the usage within a
  reasonable amount of time following notice from the licesing party.

           11.     NON-SOLICITATION. During this Agreement, neither party shall, except with the
  express written agreement of the other party, directly or indirectly, alone or as an agent,
  independent contractor, partner, shareholder of or in any corporation, partnership, proprietorship,
  firm association, person or entity, (i) employ, retain or negotiate with respect to the employment
  or retention of, any person engaged as an employee of the other party at any time during the Term
  of the Agreement, or (ii) induce or influence or attempt to induce or influence, any person engaged
  as an employee of the other party at any time during the Term of the Agreement, to terminate his
  or her relationship with that party. Notwithstanding the foregoing, the parties agree that this
  Section 11 does not preclude either party from employing or hiring an employee of the other party,
  (i) as a result of a general published advertisement rather than a response to a direct solicitation,
  or (ii) following termination of the employee’s employment.

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          12.    NON-COMPETITION. During the first 24 months following the Effective Date,
  SMS Assist shall not perform services for American Homes 4 Rent, LLC or any of its affiliated
  entities without the express written permission of Customer.

         13.    REFERRAL AGREEMENT. The parties may agree to enter into a mutually
  agreed upon referral agreement.

          14.     INDEPENDENT CONTRACTORS. Each party is an independent contractor in
  connection with this Agreement and neither party has authority to bind or commit the other in any
  contractual arrangement with any third party. Nothing herein shall be deemed or construed to
  create a joint venture, partnership or agency relationship between the parties for any purpose.

          15.     PRICING WARRANTY. SMS Assist represents and warrants that all of the
  pricing granted by SMS Assist to Customer herein shall be more favorable than the pricing granted
  by SMS Assist to any previous customer with respect to contract services within the applicable
  residential marketplace for one (1) year from the Effective Date (or any extension thereafter) and
  thereafter represents and warrants that all of the pricing shall be equal to or more favorable for the
  remainder of the term of this Agreement. Should SMS Assist (i) offer to any new or existing
  customer any contract services at a price lower than the applicable fees hereunder; or (ii) offer
  additional or more comprehensive contract services at the same or lower price than the applicable
  fees hereunder, SMS Assist shall notify Customer within thirty (30) days of such event and then
  SMS Assist shall offer such lower price to Customer, or shall offer to Customer such additional or
  more comprehensive contract services at such same or lower price (as applicable). SMS Assist
  shall review and have an officer of SMS Assist certify is compliance with this Section 15 to
  Customer annually. This certification shall be sent to Customer’s address listed under the Notice
  section of this Agreement or as otherwise specified by Customer.

          16.    NOTICES. All notices, requests, demands and determinations under the
  Agreement (other than routine operational communications), shall be in writing and shall be
  deemed duly given: (a) when delivered personally (against a signed receipt); (b) on the designated
  day of delivery (other than a weekend or US Federal government holiday) after being timely given
  to an express overnight courier with a reliable system for tracking delivery; or (c) on the next
  business day when sent by confirmed facsimile with a copy sent by another means specified above,
  and addressed as follows:

                 In the case of Customer:
                 THR Property Management L.P.
                 1717Main Street, Suite 2000
                 Dallas, TX 75201
                 Attn: Ernest M. Freedman

                 With a copy to Chief Legal Officer at the same address above.

                 With a copy to Justin Iannacone
                 8665 E Hartford Drive, Suite 200
                 Scottsdale, AZ 85255
                 Attn: Justin Iannacone

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                 In the case of SMS Assist:
                 SMS Assist, L.L.C.
                 875 N. Michigan Ave., Ste. 2800
                 Chicago, IL 60611
                 Attn: Marc Shiffman

                 With a copy to:
                 SMS Assist, L.L.C.
                 875 N. Michigan Ave., Ste. 2800
                 Chicago, IL 60611
                 Attn: General Counsel
                 notices@sms-assist.com

          17.     ENTIRE AGREEMENT. This Agreement and the Master Platform Agreement
  constitutes the entire understanding between SMS Assist and Customer, superseding and replacing
  any and all prior agreements between the parties hereto. No modification or amendment of this
  Agreement shall be effective unless reduced to writing and signed by Customer and an authorized
  officer of SMS Assist.

          18.    APPLICABLE LAW. This Agreement shall be governed by and construed in
  accordance with the internal law, and not the law of conflicts, of the State of Illinois. Except as
  otherwise described in Section 6, the parties hereto consent to sole jurisdiction of the courts of
  Cook County, Illinois or the U. S. Federal District Court for the Northern District of Illinois with
  respect to any disputes which may arise out of this Agreement and the parties will not object to
  such venue. THE PARTIES HEREBY WAIVE TRIAL BY JURY FOR ANY DISPUTE
  RELATING TO THIS AGREEMENT OR THE SERVICES PROVIDED HEREUNDER.

          19.    INVALIDITY. If any provision in this Agreement shall be held to be invalid,
  illegal or unenforceable in any respect, such invalid, illegal or unenforceable provision shall not
  affect any other provision hereof, and this Agreement shall be construed as if such invalid, illegal
  or unenforceable provision had never been contained herein.

         20.      NON-WAIVER. Continuation of the performance of this Agreement is not to be
  construed as a waiver of an alleged breach, and such continuation is done at all times with a
  reservation of all rights under this Agreement.

         21.      COUNTERPARTS. This Agreement may be executed in one or more counterparts,
  each of which shall be deemed an original, but all of which together shall constitute one and the
  same instrument. In addition, the parties agree that (i) an electronic signature shall be considered
  an original signature, and (ii) a complete copy of the Agreement shall be considered an original
  instrument, and each, together or separately, shall become binding and enforceable as if original
  and the parties may rely on the same to prove the authenticity of the Agreement.

          22.    ASSIGNMENT. This Agreement may not be assigned by either party without the
  written approval of the other party. Any attempted assignment by a party without such approval
  shall be void and of no force and effect. A change in ownership, control, or a change in operating

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  officers shall not be deemed an assignment. This Agreement shall be binding upon and inure to
  the benefit of the successors and valid assigns of each party.

          23.    FORCE MAJEURE. Neither party will incur any liability to the other party
  resulting from any delay or failure to perform all or any part of this Agreement if such delay or
  failure is caused, in whole or in part, by events, occurrences, or forces beyond the reasonable
  control or without the negligence of such party.

         24.     AUDIT RIGHTS.

          a) Customer and its authorized representatives shall have the right to audit, to examine,
  and to make copies of or extracts from SMS Assist’s records (in whatever form they may be kept,
  whether written, electronic, or other) for the purposes of verifying the Contracted Services
  performed under this Agreement and the Platform Agreement rendered hereunder or thereunder
  kept by or under the control of SMS Assist, including, but not limited to those kept by and between
  SMS Assist, its agents, affiliates, contractors, vendors, assigns, and successors, such as SMS
  Assist’s agreements with vendors and contractors performing Contracted Services. SMS Assist
  shall, at all times during the term of this Agreement and for a period of seven years after the
  completion of such agreement, maintain such records, together with such supporting or underlying
  documents and materials, to the extent available and in SMS Assist’s or its representatives’ or
  advisors’ possession. SMS Assist shall at any time reasonably requested by Customer, whether
  during or after completion of this Agreement make such records available for inspection and audit
  (including copies and extracts of records as required) by Customer. Such records shall be made
  available to Customer during normal business hours at SMS Assist’s office or place of business.

         b) SMS Assist will provide Customer with a semi-annual statement describing the total
  aggregate cash available to SMS Assist, including any cash available through a line of credit,
  which shall be signed by an officer of SMS Assist.

          25.     SURVIVAL. The provisions of Sections 6, 7, 8, 9, 10 and 18 of this Agreement
  shall survive the expiration or early termination of this Agreement, as well as any other provisions
  that, by their nature, are intended to survive termination of this Agreement.

  IN WITNESS WHEREOF, the parties, intending this Agreement to be effective on the Effective
  Date, have caused this Agreement to be executed by their duly authorized representatives.


    THR PROPERTY MANAGEMENT L.P.:                         SMS ASSIST, L.L.C.:


    Signature:                                            Signature:

    Name:                                                 Name:

    Title:                                                Title:

    Date:                                                 Date:

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                                           SOW1
                                   Statement of Work 1 for
                                      Reactive Services
         This Statement of Work for Reactive Services (this “SOW1”) is entered into as of January
  31, 2018, by and between THR PROPERTY MANAGEMENT L.P. and SMS ASSIST, L.L.C.
  This SOW1 is hereby incorporated by reference and made a part of the Master Services
  Agreement effective January 31, 2018 by and between Customer and SMS Assist. Except as
  otherwise defined in this SOW1, all capitalized terms used in this SOW1 shall have the same
  meanings assigned to them in the Agreement.

  1.      Scope of Services. SMS Assist shall provide Customer with the Contracted Services set
  forth on SOW1 - Exhibit A attached to and made a part of the Agreement (“Reactive Services”).

  2.      Services and Service Providers. SMS Assist shall use independent contractors to
  provide the Contracted Services as directed by SMS Assist (“Service Providers”) and Service
  Providers shall follow the processes and procedures as outlined in this SOW1 which are applicable
  to such Service Provider.

  3.       Unified National Operating Platform.
          a)      The terms and conditions described in SOW1 - Exhibit B shall apply until the
  parties are able to complete the Unified National Operating Platform in accordance with Section
  3(b) of the Agreement.
          b)      As of the Unified Date, the terms and conditions of SOW1 - Exhibit B shall be of
  no further effect and the terms and conditions of SOW1 - Exhibit C shall apply.

  4.     Locations. In accordance with Section 3 above, SMS Assist shall provide the Reactive
  Services at the Locations listed on SOW1 - Exhibit B and C, as applicable.

  5.     Payment Terms, Fees, Expense and Taxes. SMS Assist agrees to provide billing in
  accordance with Section 2 “Price and Payment Terms” of the Agreement.

  IN WITNESS WHERE OF, the parties hereto have caused this SOW1 to be duly executed the
  day and year first above written.


   THR PROPERTY MANAGEMENT L.P.:                       SMS ASSIST, L.L.C.:


   Signature:                                          Signature:

   Name:                                                Name:

   Title                                                Title:

   Date:                                                Date:

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                                           SOW1 - Exhibit A
                                           Scope of Services

  1.   Scope of Services. SMS Assist shall perform the following Reactive Services for
       Locations that the Customer has designated in accordance with this SOW1:

               Service Category                                          General Notes
                                                 Repair/replace exterior/interior doors, windows and siding,
                                                 repair/replace locks/door hardware, storm shutter installation
              Doors/Windows/Siding               Glass Replacements / Board Ups
                                                 Window covering repairs/replacements
                                                 Emergency Repairs
                                                 Repair/replace breakers
                                                 Wiring repairs
                                                 Run new circuits, replace switches
                Electrical / Lighting            Run wiring and install new outlets and fixtures
                                                 Outages
                                                 Emergency Repairs
                                                 Leaks / Flooding / Blockages
                                                 New lines and fixture installations
                                                 Hot Water Heater repairs/replacements
                                                 Septic Pumping / Replacement
                   Plumbing
                                                 Toilet stoppages
                                                 Drain line stoppages, leaks
                                                 Leaking fixtures and faucets interior
                                                 Emergency Repairs
                                                 Flooring
                                                 Carpentry / Drywall
                                                 Ceiling Repairs
                                                 Patch & Paint, Touchups
            General Building / Carpentry         Exterior Repairs, Gates, Fencing
                                                 Cabinet/Countertop repairs/replacements
                                                 Roof Repairs / Full Replacements
                                                 General Maintenance
                                                 Emergency Repairs
                                                 Repair
                                                 Replacement / New Installation
            Air Conditioning & Heating           Ductwork repair/install
                                                 Preventative maintenance
                                                 Emergency Repair
             Appliances (Kitchen Hoods,          Repair
       Refrigerators, Dishwasher, Range/Oven,    Replacement / New Installation
           Garbage Disposal, Microwave)          Emergency Repairs
                                                 Repair Doors & Garage Openers
               Garage / Garage Door              Spring Replacement
                                                 Emergency Repairs




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                                                 Pool Maintenance
                      Pools
                                                 Pool Repair

                      Other                      Other repair and maintenance issues



  2.    Operations.
  a)      Work Order Report. SMS Assist will submit, track, and reconcile all Work Orders through
  the Platform. The Work Order Report will contain the following:
         i.   Location ID number, if any
        ii.   Location Address
       iii.   Description of work performed
       iv.    Price of the Work Order including any NTE approvals
        v.    Status of the Work Order
  b)     Field Communications. SMS Assist shall communicate service information and schedules
  to the Customer field personnel via the Platform. The Platform will provide Customer with
  updates as to the status of the Work Order and any scheduled times for the performance of
  Contracted Services.
  c)     Confirmation. SMS Assist will confirm all Work Orders performed by Service Providers
  through the Platform.
  d)     Work Order Tracking. SMS Assist shall track Work Orders according to the following
  standards:
         i.   Completion Time. Completion time is defined as the point in time when the work is
              actually completed and the status is changed to “Work Complete/Pending Invoice” in
              SMS Assist’s Platform.
        ii.   Response Time. Response time is defined as the point in time when SMS Assist
              acknowledges receipt of a Work Order, and changes the status of the work order from
              “Pending Acceptance” to “Scheduled” in SMS Assist’s Platform.
       iii.   Priority 1. Priority 1 (Emergency) work request performance is measured on a 24/7
              clock. All other priorities are measured on a Monday – Friday (excluding holidays)
              business day (8AM to 5PM) clock.
       iv.    Reporting. SMS Assist will provide reporting reflecting work performance levels,
              work volume, response times, specific detail associated with work completion and
              invoicing.
  e)      NTE Approval Process. If additional authorization and/or materials are required to
  complete repairs or to mitigate an emergency (e.g. permanent repairs following mitigation of an
  emergency issue, NTE approvals, or specialty parts that are not readily available, etc.) SMS Assist
  may place the Work Order on hold and provide a new estimated “Completion Time” based on the
  anticipated time required to gain appropriate authorizations and/or to source the correct repair
  materials and complete the required repairs.

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  f)      NTE Limits. SMS Assist and Customer shall agree upon NTEs for the Contracted
  Services. Customer may change the NTE limits from time to time in Customer’s reasonable
  discretion. The agreed upon NTE limit will be described in the attached Exhibit A-1 and any
  services exceeding the agreed upon NTE limits (as expressed in U.S. Dollars) will follow the quote
  process defined in section 2(g) below. The parties may modify the NTE limits set forth in Exhibit
  A-1 by agreeing in writing, which need not be signed to be effective.
  g)      Quotes. In the event that a Work Order will exceed the NTE limit, SMS Assist shall use
  commercially reasonably efforts to obtain a quote for such services within 48 hours following
  Service Provider’s original visit to the Location. For Work Orders categorized as an “Emergency”
  and flagged as a habitability issue, SMS Assist shall use commercially reasonable efforts to obtain
  a quote for such services within 24 hours. SMS Assist will provide the quoted dollar amount to
  Customer and Customer will approve or reject the quoted amount. In the event that Customer
  approves the quoted amount for a Work Order, such approved amount shall become the NTE for
  such Work Order and SMS Assist shall obtain approval before exceeding the new NTE limit. SMS
  Assist will not be responsible for performing any work under the applicable Work Order unless
  Customer has approved the NTE limit increase.




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                                               Exhibit A-1
                                               NTE Limits
                                                                                         Afterhours
Service Category       Service Type                  Problem Code              NTE       NTEs
Air
Conditioning/Heating   Swamp Cooler                  Leaking                   $300.00         $600.00
Air
Conditioning/Heating   Temporary Units               Cooling                   $200.00         $400.00
Air
Conditioning/Heating   Thermostat                    Physical Damage           $300.00         $600.00
Air
Conditioning/Heating   Thermostat                    Programming Help Needed     $0.00                n/a
Air
Conditioning/Heating   Thermostat                    Smart Thermostat          $200.00         $400.00
Air
Conditioning/Heating   Unit                          Airflow Issue             $300.00         $600.00
Air
Conditioning/Heating   Unit                          Gas Smell                 $300.00         $600.00
Air
Conditioning/Heating   Unit                          Leaking Water             $300.00         $600.00
Air
Conditioning/Heating   Unit                          Making Noise              $300.00         $600.00
Air
Conditioning/Heating   Unit                          Vandalism                 $300.00         $600.00
Air
Conditioning/Heating   Unit                          Not Heating               $300.00         $600.00
Air
Conditioning/Heating   Unit                          Not Cooling               $300.00         $600.00
Appliances             Cooktop                       Gas Smell                 $200.00         $400.00
Appliances             Cooktop                       Not Working               $200.00         $400.00
Appliances             Dishwasher                    Not Working               $200.00             n/a
Appliances             Dryer                         Broken or Damaged         $200.00             n/a
Appliances             Dryer                         Dryer Vent                $200.00             n/a
Appliances             Dryer                         Making Noise              $200.00             n/a
Appliances             Dryer                         Not Working Properly      $200.00             n/a
Appliances             Microwave                     Not Working               $200.00         $400.00
Appliances             Range/Oven                    Broken or Damaged         $200.00         $400.00
Appliances             Range/Oven                    Gas Smell                 $200.00         $400.00
Appliances             Range/Oven                    Not Working               $200.00         $400.00
Appliances             Refrigerator                  Freezer Not Working       $200.00         $400.00
Appliances             Refrigerator                  Ice Maker Not Working     $200.00             n/a
Appliances             Refrigerator                  Not Working               $200.00         $400.00
Appliances             Vent Hood                     Not Working               $200.00         $400.00
Appliances             Wall Oven                     Broken or Damaged         $200.00         $400.00
Appliances             Wall Oven                     Not Working               $200.00         $400.00
Appliances             Washer                        Broken or Damaged         $200.00             n/a
Appliances             Washer                        Leaking                   $200.00             n/a
Appliances             Washer                        Not Working Properly      $200.00             n/a
Cabinets/Countertops   Cabinets                      Broken or Damaged         $250.00             n/a
Cabinets/Countertops   Cabinets                      Cracked or Peeling        $250.00             n/a
Cabinets/Countertops   Countertops                   Broken or Damaged         $250.00             n/a
Cabinets/Countertops   Countertops                   Cracked or Peeling        $250.00             n/a
Doors/Windows/Siding   Exterior - Door Locks         Lost Key/Locked Out       $250.00         $500.00


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Doors/Windows/Siding   Exterior - Door Locks             Not Working Properly             $250.00   $500.00
Doors/Windows/Siding   Exterior - Doors                  Broken or Damaged                $250.00   $500.00
                                                         Door Adjustment or Weather
Doors/Windows/Siding   Exterior - Doors                  Stripping                        $250.00   $500.00
Doors/Windows/Siding   Interior - Doors                  Broken or Damaged                $250.00       n/a
Doors/Windows/Siding   Siding                            Damaged                          $250.00   $500.00
Doors/Windows/Siding   Windows                           Frame Issue or Leak              $250.00   $500.00
Doors/Windows/Siding   Windows                           Glass Broken or Damaged          $250.00   $500.00
Doors/Windows/Siding   Windows                           Latch or Hardware Issue          $250.00   $500.00
Doors/Windows/Siding   Windows                           Screens                          $250.00   $500.00
Electrical/Lighting    Bathroom Fan                      Fan Not Working                  $250.00   $500.00
Electrical/Lighting    Bathroom Fan                      Light Not Working                $250.00   $500.00
Electrical/Lighting    Ceiling Fan                       Fan Balancing                    $250.00   $500.00
Electrical/Lighting    Ceiling Fan                       Fan Not Working                  $250.00   $500.00
Electrical/Lighting    Exterior Lighting                 Not Working, Broken or Damaged   $250.00       n/a
Electrical/Lighting    Interior Lighting                 Not Working, Broken or Damaged   $250.00       n/a
Electrical/Lighting    Outlet                            Loose or Damaged                 $250.00   $500.00
Electrical/Lighting    Outlet                            Not Working                      $250.00   $500.00
Electrical/Lighting    Outlet                            Smoking or Sparking              $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Detached or Damaged              $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Failed Test                      $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Periodically Chirping            $250.00   $500.00
Electrical/Lighting    Smoke & Carbon Monoxide Alarms    Sounding Alert                   $250.00   $500.00
Electrical/Lighting    Wiring                            Breaker                          $250.00   $500.00
Electrical/Lighting    Wiring                            Burning Smell                    $250.00   $500.00
Electrical/Lighting    Wiring                            Exposed Wires                    $250.00   $500.00
Flooring               Carpet                            Damaged                          $250.00       n/a
Flooring               Carpet                            Pulling Up                       $250.00       n/a
Flooring               Stairs/Stair Railing              Broken or Damaged                $250.00       n/a
Flooring               Tile                              Cracked Tile                     $250.00       n/a
Flooring               Tile                              Grout Issue                      $250.00       n/a
Flooring               Vertical Tile (Bath/Kitchen)      Cracked Tile                     $250.00       n/a
Flooring               Vinyl                             Damaged/Torn                     $250.00       n/a
Flooring               Vinyl                             Peeling Up/Separating            $250.00       n/a
Flooring               Wood Laminate                     Damaged                          $250.00       n/a
Garage/Garage Door     Door/Opener                       Missing Remote                   $150.00   $300.00
Garage/Garage Door     Door/Opener                       Not Working, Broken or Damaged   $250.00   $500.00
Garage/Garage Door     Door/Opener                       Spring Issue                     $250.00   $500.00
General Maintenance    Bath Accessories                  Broken or Damaged                $250.00   $500.00
General Maintenance    Cleaning                          Maid Service Needed              $150.00   $300.00
General Maintenance    Cleaning                          Power Washing                    $150.00       n/a
General Maintenance    Discoloration                     Wall/Ceiling Stains or Spots     $250.00   $500.00
General Maintenance    Fireplace                         Chimney Sweep Neede d            $250.00       n/a
General Maintenance    Fireplace                         Not Working                      $250.00   $500.00
General Maintenance    Interior - Trim/Baseboard         Broken or Damaged                $250.00   $500.00
General Maintenance    Stairs/Stair Railing              Damaged or Missing               $250.00   $500.00
General Maintenance    Structural                        Exterior Deck                    $250.00   $500.00
General Maintenance    Structural                        Foundation                       $250.00   $500.00
General Maintenance    Structural                        Framing                          $250.00   $500.00
General Maintenance    Structural                        Roof Truss                       $250.00   $500.00
General Maintenance    Structural                        Sub Floor                        $250.00   $500.00
General Maintenance    Vandalism                         Property Damage                  $250.00   $500.00
General Maintenance    Vandalism                         Stolen                           $250.00   $500.00
General Maintenance    Walls/Ceiling                     Damaged, Missing or Wet          $250.00   $500.00


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General Maintenance     Water Extraction                    Dryout                               $250.00   $500.00
Landscape/Irrigation    Irrigation                          Leaking Water/Broken Line            $250.00   $500.00
Landscape/Irrigation    Irrigation                          Sprinkler not working properly       $250.00   $500.00
Landscape/Irrigation    Irrigation                          Timer Not Working                    $150.00       n/a
Landscape/Irrigation    Trees/Plants                        Grass/Lawn                           $200.00       n/a
Landscape/Irrigation    Trees/Plants                        Tree Removal Needed                  $250.00   $500.00
Landscape/Irrigation    Trees/Plants                        Tree Trimming Needed                 $250.00   $500.00
Landscape/Irrigation    Trees/Plants                        Weed removal                         $150.00   $300.00
Masonry/Fencing/Gates   Brick/Concrete                      Driveway/Patio/Sidewalk              $250.00   $500.00
Masonry/Fencing/Gates   Brick/Concrete                      Floor lifted or cracked              $250.00   $500.00
Masonry/Fencing/Gates   Brick/Concrete                      Walls - Cracked, Broken or Damaged   $250.00   $500.00
Masonry/Fencing/Gates   Fencing                             Broken or Damaged                    $250.00       n/a
Masonry/Fencing/Gates   Fencing                             Missing Slats                        $250.00       n/a
Masonry/Fencing/Gates   Gates                               Broken or Damaged                    $250.00       n/a
Masonry/Fencing/Gates   Mailbox                             Missing, Broken or Damaged           $250.00       n/a
Masonry/Fencing/Gates   Shutters                            Missing, Broken or Damaged           $250.00       n/a
Paint                   Drywall                             Hole                                 $250.00       n/a
Paint                   Exterior                            Cracking or Peeling                  $250.00       n/a
Paint                   Interior                            Cracking or Peeling                  $250.00       n/a
Pest Control            Ants/Small Pests                    Treatment Needed                     $150.00       n/a
Pest Control            Bed Bugs                            Treatment Needed                     $150.00       n/a
Pest Control            Birds, Bats, Racoons & Squirrels    Trapping Needed                      $150.00       n/a
Pest Control            Gophers                             Trapping Needed                      $150.00       n/a
Pest Control            Rodents/Large Pests                 Trapping Needed                      $150.00       n/a
Pest Control            Snakes, Lizards & Other Pests       Trapping Needed                      $150.00       n/a
Pest Control            Termites/Wood Destroying Pests      Treatment Needed                     $150.00   $300.00
Pest Control            Wasps/Bees                          Treatment Needed                     $150.00       n/a
Plumbing                Backflow test                       Test                                 $250.00       n/a
Plumbing                Exterior Lines/Fixtures             Broken/Leaky Pipe or Faucet          $250.00   $500.00
Plumbing                Garbage Disposal                    Not Working, Broken or Damaged       $200.00       n/a
Plumbing                Gas Lines                           Repair                               $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Broken or Damaged                    $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Finish/Surface                       $250.00   $500.00
Plumbing                Glass Enclosure/Shower Door         Leaking                              $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Faucet Broken or Leaking             $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Flooding/Sewer Backup                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Pipes Broken or Leaking              $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Shower Valve/Head                    $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Slow or Clogged Drain                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Sump Pump Not Working                $250.00   $500.00
Plumbing                Interior Lines/Fixtures             Tub/Tub Surround/Shower Leaking      $250.00   $500.00
Plumbing                Septic System                       Preventive Maintenance               $250.00   $500.00
Plumbing                Toilet                              Backing Up/Overflowing               $250.00   $500.00
Plumbing                Toilet                              Leaking/Running Constantly           $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Broken or Damaged                    $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Finish/Surface                       $250.00   $500.00
                        Tub/Tub Surround/Shower
Plumbing                Surface/Sink                        Leaking                              $250.00   $500.00
Plumbing                Water Heater                        Leaking                              $250.00   $500.00
Plumbing                Water Heater                        Not Heating/Working Properly         $250.00   $500.00
Pool/Spa                Equipment                           Auto-Fill                            $100.00       n/a
Pool/Spa                Equipment                           Automatic Vacuum                     $100.00       n/a


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Pool/Spa        Equipment               Broken or Damaged                  $100.00       n/a
Pool/Spa        Equipment               Filter                             $100.00       n/a
Pool/Spa        Equipment               Light                              $100.00       n/a
Pool/Spa        Equipment               Not Cleaning Properly              $100.00       n/a
Pool/Spa        Equipment               Plaster Issue                      $100.00       n/a
Pool/Spa        Equipment               Pool Deck                          $100.00   $200.00
Pool/Spa        Equipment               Pool/Spa Heater                    $100.00       n/a
Pool/Spa        Equipment               Pump                               $100.00       n/a
Pool/Spa        Equipment               Skimmer                            $100.00       n/a
Pool/Spa        Fencing/Gate/Locks      Not Working, Broken or Damage d    $100.00       n/a
Pool/Spa        Fencing/Gate/Locks      Unable to Secure                   $100.00       n/a
Pool/Spa        Leak Detection          Bucket Test                        $100.00       n/a
Pool/Spa        Leak Detection          Leak Repair                        $100.00       n/a
Pool/Spa        Leak Detection          Possible Leak                      $250.00       n/a
Pool/Spa        Plaster Issue           Backfill                           $100.00       n/a
Pool/Spa        Plaster Issue           Cracked or Chipping                $100.00       n/a
Pool/Spa        Plaster Issue           Re-Plaster                         $100.00       n/a
Pool/Spa        Plaster Issue           Stained                            $100.00       n/a
Pool/Spa        Pool Screens            Broken, damaged or missing         $100.00       n/a
Pool/Spa        Service                 Green to Clean                     $100.00       n/a
Pool/Spa        Service                 Routine Service Needed             $100.00       n/a
Roof            Gutters                 Clogged Gutters                    $250.00   $500.00
Roof            Gutters                 Damaged                            $250.00   $500.00
Roof            Roofing Material        Interior Leaking                   $250.00   $500.00
Roof            Roofing Material        Wind Damage                        $250.00   $500.00
Violations      City                    Architectural Issue                $250.00       n/a
Violations      City                    Code Issue                         $250.00       n/a
Violations      City                    Cosmetic Issue                     $250.00       n/a
Violations      City                    Health & Safety Issue              $250.00       n/a
Violations      City                    Landscaping Enhancement Neede d    $250.00       n/a
Violations      City                    Landscaping Service Needed/Weeds   $250.00       n/a
Violations      City                    Municipal Inspection               $250.00       n/a
Violations      City                    Notice of Hearing                  $250.00       n/a
Violations      City                    Oil Stains                         $250.00   $500.00
Violations      City                    Other Issues                       $250.00       n/a
Violations      City                    Permit Issue                       $250.00       n/a
Violations      City                    Pool Issue                         $250.00       n/a
Violations      City                    Structural Issue                   $250.00       n/a
Violations      City                    Trash Can                          $250.00       n/a
Violations      City                    Trash/Debris                       $250.00       n/a
Violations      City                    Vehicle/Parking                    $250.00       n/a
Violations      HOA                     Architectural Issue                $250.00       n/a
Violations      HOA                     Code Issue                         $250.00       n/a
Violations      HOA                     Cosmetic Issue                     $250.00       n/a
Violations      HOA                     Health & Safety Issue              $250.00       n/a
Violations      HOA                     Landscaping Enhancement Neede d    $250.00       n/a
Violations      HOA                     Landscaping Service Needed/Weeds   $250.00       n/a
Violations      HOA                     Municipal Inspection               $250.00       n/a
Violations      HOA                     Notice of Hearing                  $250.00       n/a
Violations      HOA                     Oil Stains                         $250.00   $500.00
Violations      HOA                     Other Issues                       $250.00       n/a
Violations      HOA                     Permit Issue                       $250.00       n/a
Violations      HOA                     Pool Issue                         $250.00       n/a
Violations      HOA                     Structural Issue                   $250.00       n/a

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Violations         HOA                  Trash Can                        $250.00        n/a
Violations         HOA                  Trash/Debris                     $250.00        n/a
Violations         HOA                  Vehicle/Parking                  $250.00        n/a
Window Coverings   Coverings/Blinds     Not Working, Broken or Damaged   $200.00        n/a




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                                     SOW1 - Exhibit B
   Pre-Unified National Operating Platform Terms and Location List
    1.   Fees.

            a. SMS Assist will charge Customer the total cost of the Service Provider invoice for
               each Reactive Service plus a markup of 26.59% (21% gross margin) of the total
               cost of the Reactive Service if the Service Provider invoice is less than $10,000.00,
               exclusive of applicable taxes. Except as otherwise agreed upon by the parties, SMS
               Assist warrants that the markup will be calculated based upon Service Providers’
               actual costs, and SMS Assist will take steps which are reasonably designed to
               prevent charging Customer duplicative taxes.

            b. SMS Assist will charge Customer the total cost of the Service Provider invoice for
               each Reactive Services if the Service Provider invoice, exclusive of applicable
               taxes, is in excess of $10,000.00.

            c.    SMS Assist will not charge any fee for a Reactive Service which is performed by
                 an employee of Customer. Customer will continue to utilize and employ in-house
                 technicians materially consistent with historical business practices.

      2. Locations and Rollout. The list of Locations covered under this SOW1 is set forth in the
         customer portfolio report (“SOW1 Customer Portfolio Report”), as follows:

            a. All properties that were formerly owned under the Starwood Waypoint Homes
               portfolio will be included in the Customer Portfolio Report as of the Effective
               Date.

            b. The properties that were formerly owned under Invitation Homes, Inc. portfolio
               will be added, by region, according to the following schedule:


                     Region                   Date to be added to the Customer Portfolio Report
             Phoenix                Wednesday, January 31, 2018
             Las Vegas              Friday, February 2, 2018
             Miami                  Tuesday, February 27, 2018
             Tampa                  Thursday, March 1, 2018
             Charlotte              Wednesday, March 14, 2018
             Jacksonville           Wednesday, April 4, 2018
             Atlanta                Wednesday, April 18, 2018
             Orlando                Friday, April 20, 2018
             Inland Empire          Wednesday, May 2, 2018
             Los Angeles            Wednesday, May 2, 2018
             Sacramento             Friday, May 4, 2018
             Chicago                Wednesday, June 6, 2018
             Minneapolis            Friday, June 8, 2018


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            Seattle               Tuesday, June 19, 2018

           c. If necessary, the parties may modify the schedule above by agreeing in writing,
              which need not be signed to be effective.

           d. Once the roll-out is complete, all Customer owned properties in the regions listed
              above and any other regions where the Customer is operating as of the date that
              the roll-out is completed, excluding any corporate or management offices, will be
              included in the SOW1 Customer Portfolio Report.

           e. Customer will provide SMS Assist with a list of newly added locations as soon as
              reasonably practical and SMS Assist will add such new locations to the applicable
              Platform of a Merged Entity (as designated by Customer) within seven (7) days of
              receipt of such notice from Customer.

           f. In the event a Location is sold, Customer may remove such Location from the
              SOW1 Customer Portfolio Report by providing seven (7) days’ advance written
              notice to SMS Assist.

           g. SMS Assist will remove Locations that are terminated in accordance with Section
              5 from the SOW1 Customer Portfolio Report as of the date of termination for such
              Location.

           h. The parties agree to regularly review the list of Locations in the SOW1 Customer
              Portfolio Report and in the event of any inconsistencies, Customer and SMS Assist
              will work to resolve the inaccuracies in a timely manner.




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                                     SOW1 - Exhibit C
   Post-Unified National Operating Platform Terms and Location List
  1.   Fees.

           a. Provided that Customer meets the minimum spend requirements detailed in Section
              1(b) below, SMS Assist will charge Customer the total cost of the Service Provider
              invoice for a Reactive Service plus a markup of 24.23% (19.5% gross margin) of
              the total cost of the Reactive Service if the Service Provider invoice is less than
              $10,000.00, exclusive of applicable taxes. Except as otherwise agreed upon by the
              parties, SMS Assist warrants that the markup will be calculated based upon Service
              Providers’ actual costs, and SMS Assist will take steps which are reasonably
              designed to prevent charging Customer duplicative taxes.

           b. In the event that Customer spends less than $75,000,000.00 under this Agreement
              during any 365 day period following the completion of the Unified National
              Operating Platform (each such period, a “Year”), SMS Assist may charge Customer
              a fee which shall be equal to (a) the total cost of all invoices for Reactive Services
              under $10,000 during the Year plus a markup of 26.59% (21% gross margin) less
              (b) the total cost of all invoices for Reactive Services under $10,000 during the Year
              plus a markup of 24.23% (19.5% gross margin).

           c. SMS Assist will charge Customer the total cost of the Service Provider invoice for
              Work Order for Reactive Services if the Service Provider invoice is in excess of
              $10,000.00.

           d. SMS Assist may charge Customer the fees in accordance with this subsection (d)
              for any Work Orders which are completed by employees of Customer (“In-House
              Work Orders”) and managed either through the Platform or the Call Center. For
              avoidance of doubt, Procare Service Work Orders are excluded from the definition
              of In-House Work Orders unless otherwise specified as such in SOW2.

                    i. SMS Assist will charge the fee set forth in accordance with the table below
                       for the average number of In-House Work Orders per Location which are
                       performed during each quarter.

                   ii. “Average In-House Work Orders Per Home” will be calculated at the end
                       of each quarter by dividing the total number of In-House Work Orders
                       created for the quarter by the total number of aggregate Locations that were
                       active in the same quarter.

                  iii. At the end of each quarter, SMS Assist will charge Customer the applicable
                       “Fee Per In-House Work Order,” which shall be equal to the sum of: (a)
                       each In-House Work Order (b) multiplied by the total number of In-House
                       Work Orders subject to such tier.


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               Average In-House Work Orders               Fee Per In-House Work Order
                         Per Home

                         Less than .375                               $0

                          .375 to .450                               $20

                          .450 to .525                               $50

                          .525 to .600                               $75

                          .600 to .675                               $100

                       Greater than .675                             $125




                iv. For example, if Customer has 1000 homes and creates 600 In-House Work
                    Orders for the quarter, then Customer has an Average In-House Work
                    Orders Per Home average of .600 then the fee for In-House Work Orders
                    in the quarter will be equal to:

               Average In-House            Work Orders subject              Fee per Tier
               Work Orders Per                 to Fee Tier
                    Home                                               Number of Work
                                          (The Average In-House      Orders subject to such
                                          Work Order Per Home        Fee Tier* Fee for each
                                              or upper fee tier               Tier
                                            (whichever is less) –
                                               lower fee tier)
                                             *Number of homes

                 Less than .375            (.375-0) * 1000 = 375      375 Work Orders * $0 =
                                               Work Orders                     $0

                  .375 to .450             (.450-.375) * 1000 = 75    75 Work Orders * $20 =
                                                Work Orders                  $1,500

                  .450 to .525             (.525-.450) * 1000 = 75    75 Work Orders * $50 =
                                                Work Orders                  $3,750

                  .525 to .600             (.600 - .525) * 1000 =     75 Work Orders * $75 =
                                              75 Work Orders                 $5,625

                  .600 to .675                       --                          --

                Greater than .675                    --                          --

              Fee per quarter (the sum of each Fee per Tier)                  $10,875




                 v. Following every quarter, the parties shall review the fees paid under this

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                       Section 1(d) to ensure that the quarterly fees are not materially different
                       than if they were calculated and paid on an annual basis. In the event that
                       the quarterly fees paid are materially different from a fee calculated and
                       charged on an annual basis, the parties agree to equitably adjust the total of
                       a quarterly fees so that such fees are equal to a fee as if it had been
                       calculated and charged on an annual basis. Such adjustment shall be made
                       either through the issuance of a credit towards the fees charged by SMS
                       Assist or through a new invoice to Customer.

      2. Service Level Agreements.

           a. Service Level Agreement Hurdles. SMS Assist will use its best efforts to meet the
              following service level agreement standards (each, an “SLA”) as measured over the
              course of each three calendar-month period during the term of this Agreement (each
              such period, a “Measurement Period”).

                   i. Vendor Payment Time. SMS Assist will pay Service Providers within an
                      average of 10 days from receipt of payment from Customer for the
                      corresponding Work Order during each Measurement Period. Service
                      Providers who fail to perform in accordance with applicable requirements
                      of their agreement with SMS Assist or other applicable requirements shall
                      be excluded from this calculation.

                   ii. Average Speed to Answer. Prior to the Unified Date, SMS Assist will track
                       and record data with respect to the average speed to answer Resident calls
                       to the Call Center. Following the Unified Date, the parties will work in
                       good faith to analyze the Call Center data and develop a mutually agreeable
                       Call Center SLA for SMS Assist to answer Resident calls to the Call
                       Center.

                  iii. Average Time to Dispatch. SMS Assist will dispatch Work Orders to its
                       Service Providers in accordance with the following times, as averaged over
                       each Measurement Period:
                          (a) SMS Assist will dispatch Work Orders categorized as “Critical”
                              within four (4) hours of creation of the Work Order;
                          (b) SMS Assist will dispatch Work Orders categorized as an
                              “Emergency” within 24 hours of creation of the Work Order;
                          (c) SMS Assist will dispatch Work Orders categorized as “Urgent”
                              within 72 hours within of creation of the Work Order; and
                          (d) SMS Assist will dispatch Work Orders categorized as “Routine”
                              within 14 days of the creation of the Work Order.

                  iv. Platform Availability. Subject to the terms and conditions of this
                      Agreement and the Platform Agreement, SMS Assist will make the
                      Platform available at 99.50% of the time over the Measurement Period,
                      excluding unavailability as a result of any of the Exceptions described
                      below in this Section 2(a)(iv)(a) (the “Availability Requirement”).

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                          (a) “Platform Service Level Failure” means a material failure of the
                              Platform to meet the Availability Requirement. “Available” means
                              the Platform is available for access and use by Customer and its
                              Authorized Users over the internet. The following are “Exceptions”
                              to the calculation of the Availability Requirement, and neither the
                              Platform will be considered un-Available nor any Platform Service
                              Level Failure be deemed to occur in connection with any failure to
                              meet the Availability Requirement or impaired ability of Customer
                              or its Authorized Users to access or use the Platform that is due, in
                              whole or in part, to any: (i) act or omission by Customer or any
                              Authorized User which results in the Platform being used in a
                              manner that does not strictly comply with this Agreement; (ii)
                              Customer’s or its Authorized User's internet connectivity; (iii)
                              failure, interruption, outage or other problem with any software,
                              hardware, system, network, facility or other matter not supplied or
                              not hosted by SMS Assist or its contractors; or (iv) Scheduled
                              Downtime (as defined below).
                          (b) SMS Assist will use its best efforts to: (i) schedule downtime for
                              routine maintenance of the Platform between the hours of 12 a.m.
                              and 6 a.m., Eastern Standard Time; and (ii) give Customer at least
                              twenty-four (24) hours prior notice of all scheduled outages of the
                              Platform (“Scheduled Downtime”).

          b. SLA Credit. Customer may be entitled to a reasonable monetary adjustment to
             reflect a failure to meet an SLA (a “SLA Credit”) as set forth in the SLA Credit
             Schedule attached as Exhibit C-1. SLAs shall be calculated and provided to
             Customer within thirty (30) days after the end of a Measurement Period.

          c. SLA Failure Remedy. The payment of the SLA Credit as described in SOW1 -
             Exhibit C, Section 2(b) shall be Customer’s sole remedy with respect to SMS
             Assist’s failure to meet any SLA and shall constitute a cure for SMS Assist’s failure
             to meet such SLA for the Measurement Period. This remedy only applies to the
             SLAs and nothing in this Section 2(c) is intended to affect either Party’s other rights
             or obligations under the Agreement. For avoidance of doubt, the Parties agree that
             SLA failures may be cited as evidence of unsatisfactory performance under Section
             5(e) and payment of an SLA Credit shall not be deemed a cure for the purposes of
             Section 5(e).

          d. SLA Credit Refund. In the event that (i) SMS Assist fails to meet any SLA, (ii) pays
             the applicable SLA Credit to Customer, and (iii) passes the failed SLA in the two
             consecutive Measurement Periods following the failure, then Customer shall refund
             the SLA Credit to SMS Assist within 30 days of the end of the second passed
             Measurement Period.

          e. Force Majeure. This Section and the SLAs are subject to Section 23 of the
             Agreement (“Force Majeure”).


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  3.   Platform Adoption. In order to incentivize Customer to use and adopt the Platform, the
       parties agree to the rebate structure described in this Section 3. SMS Assist shall pay the
       rebate described in the “Rebate” column within 30 days following the end of a Year
       according to the “Platform Adoption Percentage.” Platform Adoption Percentage shall be
       calculated by (a) dividing the total number of Work Orders for Reactive Services where the
       Resident records and schedules a Work Order exclusively in the Platform for the Year by
       (b) the total number of Work Orders for Reactive Services for the Year.

                Platform Adoption Percentage          Rebate

                Less than 40%                         No rebate

                40 to 60%                             $200,000

                Greater than 60%                      $400,000



  4.   Locations. The list of Locations covered under this SOW1 is set forth in the customer
       portfolio report (“SOW1 Customer Portfolio Report”), as follows:

           a. The SOW1 Customer Portfolio Report will be maintained via the Platform and
              include all Customer owned properties in the regions described in SOW1 – Exhibit
              B, Section 2(b) and any other regions where Customer was operating as of the date
              that the roll-out was completed, excluding any corporate or management offices.

           b. Customer will provide SMS Assist with a list of newly opened locations as soon as
              reasonably practical and SMS Assist will add such new locations to Platform within
              seven (7) days of receipt of such notice from Customer.

           c. In the event a Location is sold, Customer may remove such Location from the
              SOW1 Customer Portfolio Report by providing seven (7) days’ advance written
              notice to SMS Assist.

           d. SMS Assist will remove Locations that are terminated in accordance with Section
              4 from the SOW1 Customer Portfolio Report as of the date of termination for such
              Location.

           e. The parties agree to regularly review the list of Locations in the SOW1 Customer
              Portfolio Report and in the event of any inconsistencies, Customer and SMS Assist
              will work to resolve the inaccuracies in a timely manner.




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                                                        SOW1 - EXHIBIT C-1
                                                          SLA Credit Schedule


         SLA                    Hurdle               Calculation        Measurement        Due Date          Pass / Fail                   SLA Credit
                                                      Method                 Period
Vendor Payment Time        See Section 2(a)(i)       See Section           Each three      Calculation    If average result      $20,000 per Measurement Period to
                                                       2(a)(i)          calendar-month      Provided      for the quarter is      be paid within 30 days following
                                                                       period during the    within 30      greater than or       the end of the Measurement Period
                                                                          term of this      Days of          equal to the
                                                                          Agreement          Quarter     Hurdle, then Pass.
                                                                                              End         If average result
                                                                                                          for the quarter is
                                                                                                          less than Hurdle,
                                                                                                         but at least 2 of the
                                                                                                         months within the
                                                                                                           quarter have an
                                                                                                            average result
                                                                                                           greater than or
                                                                                                             equal to the
                                                                                                         Hurdle, then Pass.
Average Time to Answer       To be created in      To be created in        Each three      Calculation    If average result      $20,000 per Measurement Period to
                         accordance with Section   accordance with      calendar-month      Provided      for the quarter is      be paid within 30 days following
                                 2(a)(ii)           Section 2(a)(ii)   period during the    within 30      greater than or       the end of the Measurement Period
                                                                          term of this      Days of          equal to the
                                                                          Agreement          Quarter     Hurdle, then Pass.
                                                                                              End         If average result
                                                                                                          for the quarter is
                                                                                                          less than Hurdle,
                                                                                                         but at least 2 of the
                                                                                                         months within the
                                                                                                           quarter have an
                                                                                                            average result
                                                                                                           greater than or
                                                                                                             equal to the
                                                                                                          Hurdle, then Pass
                                                                                                                                                                     Case 3:22-cv-00260-BAS-MMP Document 21-2 Filed 03/07/23 PageID.275 Page 28 of 36




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          SLA                    Hurdle            Calculation    Measurement        Due Date          Pass / Fail                    SLA Credit
                                                    Method             Period
Average Time to Dispatch   See Section 2(a)(iii)   See Section       Each three      Calculation    If average result      If SMS Assist fails any one priority
                                                     2(a)(iii)    calendar-month      Provided      for the quarter is         level during the Measurement
                                                                 period during the    within 30      greater than or        Period, then SMS Assist shall pay
                                                                    term of this      Days of          equal to the         $12,500 within 30 days following
                                                                    Agreement          Quarter     Hurdle, then Pass.      the end of the Measurement Period.
                                                                                        End         If average result       If SMS Assist fails two or more of
                                                                                                    for the quarter is          the priority levels during the
                                                                                                    less than Hurdle,         Measurement Period, then SMS
                                                                                                   but at least 2 of the    Assist shall pay $50,000 within 30
                                                                                                   months within the            days following the end of the
                                                                                                     quarter have an                Measurement Period.
                                                                                                      average result
                                                                                                     greater than or
                                                                                                       equal to the
                                                                                                   Hurdle, then Pass.
                                                                                                     Calculated on a
                                                                                                   Per Priority Basis.
  Platform Availability    See Section 2(a)(iv)    See Section       Each three      Calculation    If average result      $10,000 per Measurement Period to
                                                     2(a)(iv)     calendar-month      Provided      for the quarter is      be paid within 30 days following
                                                                 period during the    within 30      greater than or       the end of the Measurement Period
                                                                    term of this      Days of          equal to the
                                                                    Agreement          Quarter     Hurdle, then Pass.
                                                                                        End         If average result
                                                                                                    for the quarter is
                                                                                                    less than Hurdle,
                                                                                                   but at least 2 of the
                                                                                                   months within the
                                                                                                     quarter have an
                                                                                                      average result
                                                                                                     greater than or
                                                                                                       equal to the
                                                                                                   Hurdle, then Pass.
                                                                                                                                                                  Case 3:22-cv-00260-BAS-MMP Document 21-2 Filed 03/07/23 PageID.276 Page 29 of 36




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                                           SOW2
                                   Statement of Work 2 for
                                       Procare Services

           This Statement of Work for Procare Services (this “SOW2”) is entered into as of January
   31, 2018, by and between THR PROPERTY MANAGEMENT L.P. (“Customer”) and SMS
   ASSIST, L.L.C. (“SMS Assist”). This SOW2 is hereby incorporated by reference and made a
   part of the Master Services Agreement effective January 31, 2018 by and between Customer and
   SMS Assist (“Agreement”). Except as otherwise defined in this SOW2, all capitalized terms used
   in this SOW2 shall have the same meanings assigned to them in the Agreement.

      1. Scope of Services. SMS Assist shall provide Customer with the services set forth on
         SOW2 - Exhibit A attached to and made a part of the Agreement.

      2. Locations. SMS Assist shall provide the services at the Locations listed on SOW2 -
         Exhibit B attached hereto.

      3. Termination. In the event that SOW1 is terminated, this SOW2 will automatically
         terminate as of the date of such termination.

  IN WITNESS WHERE OF, the parties hereto have caused this SOW2 to be duly executed the
  day and year first above written.


   THR PROPERTY MANAGEMENT L.P.:                       SMS ASSIST, L.L.C.:


   Signature:                                          Signature:

   Name:                                               Name:

   Title:                                              Title:

   Date:                                               Date:




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                                      SOW2 - Exhibit A
                                       Scope of Services
     1. For the purposes of this Agreement, a “Procare Service” means an automatically
        scheduled Work Order, Survey, or a Customer created and scheduled in-house inspection
        Work Orders for the inspection of a Location by an employee of Customer. SMS Assist
        shall not have any obligation to perform the Procare Services and Customer’s employees
        shall have the exclusive responsibility to perform Procare Services.

     2. SMS Assist will use its best efforts to ensure that the Platform has the ability to create,
        schedule, update, and modify Procare Service Work Orders. Customer will have the
        ability to modify Procare Service Work Orders in the Platform, including adding a
        resident’s list of minor repairs.

     3. SMS Assist will work, in good faith and using commercially reasonable efforts, to
        develop the ability for a Resident to enter the Platform and update the Procare Service
        Work Order with a list of minor repairs or issues to be inspected during the Procare
        Service.

     4. Provided that Call Center Personnel are not utilized at any point for a Procare Service,
        SMS Assist will not charge Customer any fee for Procare Service Work Orders (other
        than the Platform Fee). If Call Center Personnel or other SMS Assist resources outside of
        the Platform are utlized for a Procare Service Work Order, then the Procare Service Work
        Order will be considered a Reactive Service under SOW1 and SMS Assist may charge
        the fees described in that SOW1.

     5. If Customer’s employee identifies a repair that cannot be completed during the Procare
        visit, the employee will submit a Reactive Service Work Order under SOW1. Any
        reactive repairs, non-minor repairs, or repairs requiring a follow-up visit are outside the
        scope of this SOW2.

     6. Customer will only use Procare Work Orders for the intended purpose stated in Section 2
        above and will not use Procare Work Orders to avoid submitting Work Orders under
        SOW1 or SOW3.




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                                      SOW2 - Exhibit B
                                        Locations List

  The list of Locations covered under this SOW2 is set forth in the customer portfolio report
  (“SOW2 Customer Portfolio Report”), as follows:

     1. The SOW2 Customer Portfolio Report will be maintained via the Platform.
     2. Customer will provide SMS Assist with a list of newly opened locations as soon as
        reasonably practical and SMS Assist will add such new locations to Platform within
        seven (7) days of receipt of such notice from Customer.
     3. In the event a Location is sold, Customer may remove such Location from the SOW2
        Customer Portfolio Report by providing seven (7) days’ advance written notice to SMS
        Assist.
     4. SMS Assist will remove Locations that are terminated in accordance with Section 5 from
        the SOW2 Customer Portfolio Report as of the date of termination for such Location.
     5. The parties agree to regularly review the list of Locations in the SOW2 Customer
        Portfolio Report and in the event of any inconsistencies, Customer and SMS Assist will
        work to resolve the inaccuracies in a timely manner.




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                                           SOW3
                                    Statement of Work for
                                        Turn Services

          This Statement of Work for Turn Services (this “SOW3”) is entered into as of January 31,
   2018, by and between THR PROPERTY MANAGEMENT L.P. (“Customer”) and SMS
   ASSIST, L.L.C. (“SMS Assist”). This SOW3 is hereby incorporated by reference and made a
   part of the Master Services Agreement effective January 31, 2018 by and between Customer and
   SMS Assist (“Agreement”). Except as otherwise defined in this SOW3, all capitalized terms used
   in this SOW3 shall have the same meanings assigned to them in the Agreement.

      1. Scope of Services. SMS Assist shall provide Customer with the services set forth on
         SOW3 - Exhibit A attached to and made a part of the Agreement (the “Turn Services”).

      2. Services and Service Providers: SMS Assist shall use independent contractors to
         provide the Contracted Services as directed by SMS Assist (“Service Providers”).

      3. Locations. SMS Assist shall provide the Services in the regions listed on SOW3 - Exhibit
         B attached hereto, such regions and the Locations therein being subject to change and as
         mutually agreed upon by the parties from time to time.

      4. NTE’s. SMS Assist shall adhere to not to exceed (“NTE”) limits for the specified costs
         set forth in SOW3 - Exhibit B. SMS Assist will obtain approval from Customer in
         advance to perform any work or Service above the NTE costs set forth in SOW3 - Exhibit
         B.

      5. Quality Assurance. This SOW3 contains several critical quality control components
         furnished by SMS Assist:
             a. Work Order Report: SMS Assist will submit, track, and reconcile all Work Orders
                through the Platform. A Contracted Service cannot be completed if it has not gone
                through validation at the regional field team and/or corporate level, preferably
                through the Platform. The Work Order Report will contain the following:
                     i. Location ID number, if any
                    ii. Location Address
                   iii. Description of work performed
             b. Field Communications: SMS Assist shall communicate service information and
                schedules to the Customer field personnel via the Platform.

      6. Payment Terms, Fees, Expense and Taxes. SMS Assist agrees to provide billing in
         accordance with Section 2 “Price and Payment Terms” of the Agreement.

                                [signatures appear on the following page]




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  IN WITNESS WHERE OF, the parties hereto have caused this SOW3 to be duly executed the
  day and year first above written.


   THR PROPERTY MANAGEMENT L.P.:                 SMS ASSIST, L.L.C.:


   Signature:                                    Signature:

   Name:                                         Name:

   Title:                                        Title:

   Date:                                         Date:




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                                     SOW3 - Exhibit A
                                     Scope of Services

  1. SERVICES.

     a. The parties agree to work together in good faith to develop an updated Scope of Services
        for Turn Services prior to the Unified Date.

     b. Once agreed upon, SMS Assist will perform to the standards set forth in the updated
        Scope of Services for Turn Services.

     c. Until the parties agree upon an updated Scope of Services, the parties will follow the
        Scope of Services as detailed in SOW3 – Exhibit A of the SW Agreement.

     d. Customer agrees that it will award SMS Assist Turn Services consistent with prior
        business practices in calendar year 2017 and subject to SMS Assist’s adequate
        performance levels.

  2. FEES.

     a. Prior to the completion of the Unified National Operating Platform, SMS Assist will
        charge Customer the total cost of the Service Provider invoice for each Turn Service plus
        a markup of 26.59% (21% gross margin) of the total cost of the Turn Service if the
        Service Provider invoice is less than $10,000.00, exclusive of applicable taxes.

     b. Following the completion of the Unified National Operating Platform, SMS Assist will
        charge Customer the total cost of the Service Provider invoice for a Turn Service plus a
        markup of 24.23% (19.5% gross margin) of the total cost of the Turn Service if the
        Service Provider invoice is less than $10,000.00, exclusive of applicable taxes.

     c. For any Turn Property Capital Expenditure Work Order for which fees payable exceed
        $10,000, exclusive of applicable taxes, no mark-up will be applied to Customer’s invoice.




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                                     SOW3 - Exhibit C
                                       Locations List
  The list of Locations covered under this SOW3 is as follows:

     1. The Locations will be maintained via the Platform.
     2. By submitting a Work Order for Turn Services, Customer authorizes SMS Assist to
        perform the Turn Services at such Location.
     3. The parties agree to modify and update the list of Locations in conjunction with the
        updated Scope of Services.




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